                     Case 2:24-cv-00568-CB
                               UNITED STATESDocument
                                             DISTRICT23  Filed 05/22/25
                                                      COURT                    Page 1 of 2
                        WESTERN DISTRICT OF PENNSYLVANIA

NGBO BONNY E-HOME CO.,                          Case No. 2:24-cv-00568
        LTD.
                                          PROPOSED DEFAULT ORDER

        Plaintiff,
           v.

 NDWAY, POOLCLEAN US
 TORE, USA WAREHOUSE,
WANJIE, INPOOL US STORE,
  DEWFOND, DIGIGER,
OTOBUDDY STORE, and et al.
  Individual, Partnerships
       Defendants.




                           PROPOSED DEFAULT ORDER


                           Plaintiff has requested that an Order of Default against all of
                        the Defendants except Motobuddy on the basis that they have
                        each been served with the Complaint and Summons but have not
                        answered or otherwise defended in this case. Plaintiff attorney
                        has provided a declaration of the supporting facts.
                           Accordingly, the Clerk of Court is hereby Ordered to enter
                        default against the following Defendants in this matter:
                        ONDWAY, POOLCLEAN US STORE, USA WAREHOUSE,
                        BOWANJIE, INPOOL US STORE, DEWFOND, and
                        DIGIGER.
                           So ordered, _________________________
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